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                            BEFORE THE
                   UNITED STATES JUDICIAL PANEL
                   ON MULTIDISTRICT LITIGATION




In re: ZILLOW GROUP, INC. SESSION
                                     MDL-__
REPLAY SOFTWARE LITIGATION




   ZILLOW GROUP, INC.’S BRIEF IN SUPPORT OF MOTION TO TRANSFER
             ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR
      COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS




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       Defendant Zillow Group, Inc. (“Zillow”), by and through undersigned counsel, respectfully

submits this brief in support of its motion pursuant to 28 U.S.C. § 1407 and the United States

Judicial Panel on Multidistrict Litigation Rule of Procedure 6.2 for the transfer of certain actions

to the United States District Court for the Western District of Washington for coordinated or

consolidated pretrial proceedings.

                                        INTRODUCTION

       Plaintiffs in five different states have filed eight putative class actions in six separate

federal district courts across the country, each alleging that Zillow violated various states’

wiretapping statutes and committed common law privacy torts through the alleged use of

technology purportedly embedded on its desktop and mobile websites (collectively, the

“Actions”). This panel should transfer and assign the pending Actions listed in the Schedule of

Actions to the United States District Court for the Western District of Washington – as well as any

subsequently filed similar actions – because each action arises from the same substantive factual

allegations and asserts nearly identical legal theories of recovery. In addition, each action is in a

nascent stage: Zillow has not yet responded to any of the eight complaints, nor has discovery

commenced.

       More specifically, each Action arises from Plaintiffs’ alleged interaction with snippets of

JavaScript computer code (“Session Replay Code”) purportedly embedded on Zillow’s desktop

and mobile websites which, Plaintiffs contend, “deploys on each website visitor’s internet browser

for the purpose of intercepting and recording the website visitor’s electronic communications with

the Zillow website, including their [sic] mouse movements, clicks, keystrokes (such as text being

entered into an information field or text box), URLs of web pages visited, and/or other electronic
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communications in real-time (‘Website Communications’).” 1 The Actions all seek similar relief

on behalf of Zillow desktop and mobile website visitors whose website communications were

allegedly “captured” or “intercepted” through the use of Session Replay Code.

       The Western District of Washington is the most appropriate district within which to

consolidate these substantively identical Actions because it is where Zillow is headquartered,

where many witnesses are likely to be located, and where, as one complaint alleges, “a substantial

part of the events and conduct giving rise to Plaintiffs’ claims occurred.” See Perkins Compl. at ¶

10. Moreover, Zillow’s Terms of Use, which are disclosed to the public, identify the state and

federal courts in King County, Washington as the exclusive venue for all disputes arising from

Plaintiffs’ use of the websites. Id. at ¶ 80. Because of the nature of Zillow’s business, including

its nationwide virtual footprint and its usage by individuals in multiple (and, perhaps, all) states,

additional cases filed in the future should also be consolidated in the Western District of

Washington.

                                         BACKGROUND

       Zillow was founded and is headquartered in Seattle, Washington, first launching its website

in 2006. As the most-visited real estate website in the United States, Zillow’s companies offer

users an on-demand experience for selling, buying, renting, and financing properties with


1
        This exact language appears in six of the eight complaints. See Margulis v. Zillow Group,
Inc., No. 1:22-cv-04847 (Sep. 8, 2022) (N.D. Ill.); Popa v. Zillow Group, Inc., No. 2:22-cv-01287
(Sep. 8, 2022) (W.D. Pa.); Perkins v. Zillow Group, Inc., No. 2:22-cv-01282 (Sep. 12, 2022) (W.D.
Wash.); Strelzin v. Zillow Group, Inc., No. 1:22-cv-05644 (Sep. 15, 2022) (N.D. Ill.); Conlisk v.
Zillow Group, Inc., No. 1:22-cv-05082 (Sep. 19, 2022) (N.D. Ill.); Adams v. Zillow Group, Inc.,
No. 4:22-cv-01023 (Sep. 27, 2022) (E.D. Mo.). The other two complaints contain identical
contentions that Zillow uses “‘session replay’ spyware to intercept Plaintiff’s and the Class
members’ electronic computer-to-computer data communications with Defendant’s website,
including how they interacted with the website, their mouse movements and clicks, keystrokes,
search terms, information inputted into the website, and pages and content viewed while visiting
the website.” See Huber v. Zillow Group, Inc., No. 2:22-cv-03572 (Sep. 7, 2022) (E.D. Pa.);
Kauffman v. Zillow Group, Inc., No. 3:22-cv-01398 (Sep. 15, 2022) (S.D. Cal.).


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transparency and nearly seamless end-to-end service.

       On September 7, 2022, Plaintiff Jamie Huber filed a putative class action in the United

States District Court for the Eastern District of Pennsylvania alleging that Zillow improperly

utilized Session Replay Code to “intercept . . . electronic computer-to-computer data

communications,” and in doing so, purportedly storing and recording website visitors’ information

without the visitors’ knowledge or prior consent. Huber Compl. at ¶ 3. Huber claims that Zillow’s

alleged interception and capture of her interactions with the Zillow website “through her computer

and/or mobile device” by the Session Replay Code violate the Pennsylvania Wiretapping and

Electronic Surveillance Control Act, 18 Pa. Cons. Stat. § 5701 et seq. (“WESCA”). Id. at ¶¶ 26,

37, 75-87.

       Between September 7 and September 27, 2022 – a mere twenty days –seven more nearly

identical putative class action complaints were filed in six additional courts, sometimes by some

of the same lawyers. Those actions are:

          CASE NAME                       JURISDICTION                      DATE FILED
 Popa v. Zillow Group, Inc.        W.D. Pennsylvania                   9/8/2022
 Case No. 2:22-cv-01287
 Margulis v. Zillow Group, Inc.    N.D. Illinois                       9/8/2022
 Case No. 1:22-cv-04847
 Perkins v. Zillow Group, Inc.     W.D. Washington                     9/12/2022
 and Microsoft Corp.
 Case No. 2:22-cv-01282
 Kauffman v. Zillow Group, Inc.    S.D. California                     9/15/2022
 Case No. 3:22-cv-01398
 Strelzin v. Zillow Group, Inc.    Cook County Circuit Court (filed) 9/15/2022 (filed)
 Case No. 1:22-cv-05644            N.D. Illinois (removed)           10/14/2022 (removed)
 Conlisk v. Zillow Group, Inc.     N.D. Illinois                     9/19/2022
 Case No. 1:22-cv-05082
 Adams v. Zillow Group, Inc.       E.D. Missouri                       9/27/2022
 Case No. 4:22-cv-1023

       In each of the complaints, the common factual allegations regarding Zillow’s use of

Session Replay Code are largely indistinguishable and, in some instances, identical. The sameness


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of these Actions is perhaps best demonstrated by the fact that six of the eight Actions use identical

screenshots and descriptions that depict “information sent to one of the Service Replay Providers—

Microsoft – through a Session Replay Code – Clarity – after viewing a Studio apartment priced at

$1,488 while visiting www.zillow.com” and “after entering a name (purple text) to a text box to

schedule a tour of a property”:




Not only are these screenshots and descriptions identical – they are found at the exact same location

within the six complaints that utilize them. See Margulis Compl. at ¶¶ 49-50; Conlisk Compl. at

¶¶ 51-52; Perkins Compl. at ¶¶ 61-62; Popa Compl. at ¶¶ 48-49; Strelzin Compl. at ¶¶ 49-50; and




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Adams Compl. at ¶¶ 51-52. 2

       Plaintiffs’ theories of recovery are also nearly identical. Each action asserts a civil claim

for violation of a state wiretapping law. See Huber Compl. at ¶ 2 and Popa Compl. at ¶ 3

(WESCA); Margulis Compl. at ¶ 3, Conlisk Compl. at ¶ 4, and Strelzin Compl. at ¶ 3 (Illinois

Eavesdropping Act, 720 ILCS 5/14-1, et seq.); Kauffman Compl. at ¶ 1 (California Penal Code §

631, (“CIPA”); Adams Compl. at ¶ 3 (Missouri Wiretap Act, Mo. Ann. Stat. §§ 542.400 et seq.);

Perkins Compl. at ¶ 3 (Washington Wiretapping Statute, Wash. Rev. Code § 9.73.030 et seq.).

Seven of the Actions also assert a tort claim for invasion of privacy, and four Actions assert claims

for violation of consumer protection laws. Margulis Compl. at ¶ 3, Conlisk Compl. at ¶4, and

Strelzin Compl. at ¶ 3 (Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

505/1 et seq.); Adams Compl. at ¶ 3 (Missouri Merchandising Practices Act, Mo. Rev. Stat. §

407.010 et seq.).

        Moreover, each Plaintiff seeks to represent a putative class of persons whose

communications were “intercepted” or “captured through the use of Session Replay Code

embedded in www.zillow.com.” See Huber Compl. at ¶ 64; Popa Compl. at ¶ 56; Margulis

Compl. at ¶ 57; Conlisk Compl. at ¶ 59; Strelzin Compl. at ¶ 57; Kauffman Compl. at ¶ 57; Adams

Compl. at ¶¶ 59-60; Perkins Compl. at ¶ 69.

       While seven of the eight complaints seek to certify classes of state residents, the Perkins

action pending in the Western District of Washington asserts claims on behalf of a putative

nationwide class. 3 In seven of the eight Actions, Zillow is the sole defendant, and Microsoft, Inc.



2
       Interestingly, these identical screenshots are used despite the fact that four different sets of
lawyers represent these Plaintiffs.
3
       The Missouri Action also alleges a putative subclass of “minors” who allegedly visited
Zillow’s website. Adams Compl. at ¶ 60.


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(also located in Washington) is a co-defendant with Zillow in the Perkins Action. In the eighth

Action (Perkins), the only other defendant is Microsoft, Inc., which is also located in Washington.

Thus, while the residency of the Plaintiffs vary, the Action with the largest putative class is pending

in Washington, and all of the Defendants in all eight Actions are located in Washington.

       Critically, all eight Actions are in their infancy. Zillow has not yet responded to any of the

complaints; no court has scheduled or conducted an initial pretrial conference pursuant to Fed. R.

Civ. P. 16(b); and no discovery has yet commenced.

                                           ARGUMENT

       Pursuant to 28 U.S.C. §1407(a), transfer is appropriate where, as here: (1) the cases

“involv[e] one or more common questions of fact;” (2) transfer and consolidated or coordinated

proceedings will further “the convenience of parties and witnesses;” and (3) transfer and

consolidated or coordinated proceedings “will promote the just and efficient conduct of [the]

actions.” See In Re Nifedipine, 266 F. Supp. 2d 1382, 1382 (J.P.M.L. 2003).

       The Actions involve effectively identical factual allegations and legal issues. Transfer will

benefit the parties, the witnesses, and the courts. The Actions involve the same desktop and mobile

websites, the same allegations about Zillow’s use of Session Replay Code, and virtually identical

proposed classes. Further, because Zillow is located in the Western District of Washington and

many witnesses are likely to be located in that jurisdiction, transfer to that District is most

appropriate. Absent transfer for pretrial proceedings, the parties will incur excessive costs due to

duplicative discovery in California, Illinois, Missouri, Pennsylvania, and Washington (at a

minimum). They also will face the substantial risk of inconsistent rulings.

I.     Transfer is Appropriate Under 28 U.S.C § 1407.

       Transfer of the Actions is appropriate and will further the goals of the statute to promote

efficiency and consistency. The statute “was meant to assure uniform and expeditious treatment


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in the pretrial procedures in multidistrict litigation” and to avoid inconsistent pretrial demands that

might “disrupt the functions of the Federal courts.” In re Phenylpropanolamine Prod. Liab. Litig.,

460 F.3d 1217, 1230 (9th Cir. 2006) (quotation omitted). Because centralization of the Actions

will “eliminate duplicative discovery and the possibility of inconsistent rulings on class

certification and other pretrial matters, as well as conserve judicial and party resources,” this Panel

should transfer the Actions to the Western District of Washington. In re TikTok, Inc., Consumer

Privacy Litig., 481 F. Supp. 3d 1331 (J.P.M.L. 2020).

       Centralization of these Actions accords with the Panel’s previous decisions “involving the

allegedly unlawful tracking of individuals’ internet activity.” In re Nickelodeon Consumer Privacy

Litig., 949 F. Supp. 2d 1377 (J.P.M.L. 2013). Indeed, the Panel has consistently transferred

consumer privacy actions similar to this one for coordination. See, e.g., In re Clearview AI, Inc.

Consumer Privacy Litig., 509 F. Supp. 3d 1368, 1369 (J.P.M.L. 2020) (claims based on alleged

improper collection and distribution or sale of citizens’ biometric data); In re TikTok, Inc.,

Consumer Privacy Litig., 481 F. Supp. 3d 1331 (J.P.M.L. 2020) (claims based on allegedly

improper scanning, capture, retention, and dissemination of facial geometry and other biometric

information of app’s users); In re Vizio, Inc., Consumer Privacy Litig., 176 F. Supp. 3d 1374,

1375–76 (J.P.M.L 2016) (claims based alleged violations of customers’ privacy rights through

collection and sharing of Smart TV viewing data); In re Nickelodeon Consumer Privacy Litig., 949

F. Supp. 2d 1377, 1378 (J.P.M.L. 2013) (claims based alleged violations of privacy rights of minor

children); In re Google Inc. Cookie Placement Consumer Privacy Litig., 867 F. Supp. 2d 1356,

1357 (J.P.M.L. 2012); In re Facebook Internet Tracking Litig., 844 F. Supp. 2d 1374,

1375 (J.P.M.L. 2012) (claims based alleged violations of wiretap laws, Stored Electronic

Communications Act, 18 U.S.C. § 2701, CAFA, and common law claims for invasion of privacy,




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unjust enrichment, and trespass to chattels).

       A.      The Actions Involve Identical Factual Issues.

       The initial test for transfer and coordination under Section 1407 is the presence of similar

questions of fact. In re Fed. Election Campaign Act Litig., 511 F. Supp. 821, 823 (J.P.M.L. 1979).

This threshold requirement is satisfied where, as here, “two or more complaints assert comparable

allegations against identical defendants based upon similar transactions and events….” In re Air

West, Inc. Sec. Litig., 384 F. Supp. 609, 611 (J.P.M.L. 1974).

       The alleged conduct underlying the Actions consists of nearly identical factual assertions

arising from nearly identical events: that Zillow allegedly deploys snippets of JavaScript computer

code referred to as “Session Replay Code” from its desktop and mobile websites onto each website

visitor’s internet browser; that it purportedly does so for the purpose of intercepting and recording

each website visitor’s private electronic communications without their consent; and that each

Plaintiff was allegedly harmed by visiting Zillow’s website.          The factual questions to be

adjudicated will include, but are not limited to, whether: (1) Zillow’s Session Replay Code

“intercepts” website interactions; (2) Zillow used “Session Replay Providers” (such as Microsoft)

to intercept and record website interactions; (3) Zillow intentionally disclosed website interactions

of its website users to third parties; (4) Zillow disclosed to its users that it was purportedly

capturing their website interactions; (5) Plaintiffs consented to the use of Session Replay Code;

(6) Plaintiffs had a reasonable expectation of privacy in their activities on the Zillow.com website;

(7) users’ website interactions constitute “communications”; and (8) Session Replay Code is an

“eavesdropping device”.

       Any differences in the factual allegations of each case are minimal at best and do not negate

that transfer is proper pursuant to Section 1407. See In re Travel Agent Comm’n Antitrust Litig.,

290 F. Supp. 2d 1381, 1382 (J.P.M.L. 2003) (“Section 1407 does not require a complete identity


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or even [a] majority of common factual and legal issues as a prerequisite to centralization.”); cf. In

re Samsung Top-Load Washing Machine Mktg., Sales Practices and Prods. Liab. Litig., 278 F.

Supp. 3d 1376, 1378 (J.P.M.L. 2017) (granting motion as to an action that focused on one

component of the product in question where the other MDL actions focused on various

components of the product). As discussed above, but for minor variations specific to the individual

Plaintiffs, the complaints in the Actions are all but identical.

       The Actions likewise involve similar legal theories. These will require adjudication of

whether Zillow engaged in, among other things, invasion of consumers’ common law privacy

rights, violations of various states wiretapping laws, and violations of state consumer-protection

laws in its alleged use of Session Replay Code on its desktop and mobile websites. Although the

legal claims differ slightly in each case due to the differing state wiretapping and consumer

protection laws invoked, all Plaintiffs seek damages and injunctive relief from Zillow for the same

alleged conduct and the same alleged injury. While the Panel has held that “Section 1407 requires

the existence of common questions of fact, not common questions of law,” In re Air Crash Disaster

at Huntington, W. Va. on Nov. 14, 1970, 342 F. Supp. 1400, 1402 (J.P.M.L. 1972), here, the

questions of law are quite common as well. Moreover, this Panel has previously held that potential

differences between state wiretapping and eavesdropping laws do not preclude consolidation. See

In re Google Inc. Gmail Litig., 936 F. Supp. 2d 1381, 1382 (J.P.M.L. 2013) (consolidating class

actions against Google where, as here, plaintiffs from various states alleged that defendant’s

conduct “amount[ed] to an illegal ‘interception’ or ‘eavesdropping’ under various federal and/or

state wiretapping statutes.”)

       B.      Transfer Will Serve The Convenience Of The Parties, Witnesses, And
               Counsel.

       Centralization under Section 1407 also will “ensure[] that pretrial proceedings will be



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conducted in a streamlined manner leading to the just and expeditious resolution of all actions to

the overall benefit of the parties.” In re Lehman Bros. Hldg., Inc., 598 F. Supp. 2d 1362, 1364

(J.P.M.L. 2009). Transfer of multiple actions to a single forum prevents duplication of efforts and

eliminates the possibility of overlapping or inconsistent determinations by courts of coordinate

jurisdiction. See In re Vizio, Inc., Consumer Privacy Litig., 176 F. Supp. 3d 1374, 1375–76

(J.P.M.L 2016); In re Sony Corp. SXRD Rear Projection TV Mktg. Sales Practices & Prods. Liab.

Litig., 655 F. Supp. 2d 1367 (J.P.M.L. 2009). Consolidating the Actions into a single centralized

and coordinated pretrial program will further the statute’s goals of fairness and efficiency.

        Consolidation will also serve to minimize the inconvenience, inefficiencies, and expense

of redundant and duplicative discovery – precisely the purpose of transfer and coordination under

Section 1407. Written discovery and witnesses to be deposed will undoubtedly be largely identical

in each of the eight Actions. Transfer to Western District of Washington – where the Perkins

matter is already pending and where Zillow (and Microsoft) are headquartered – will be more

convenient for the parties, witnesses, and counsel. To the extent that non-parties are also witnesses

or possess potentially responsive evidence, coordination and consolidation benefits them, too.

Indeed, without transfer, Zillow will be forced to defend itself in at least six different federal courts

for the same legal claims arising from the same factual allegations.

        Moreover, each of the Actions – filed in California, Illinois, Missouri, Pennsylvania, and

Washington – should have been filed in the United States District Court for the Western District

of Washington in the first place, as the Zillow website Terms of Use – which are disclosed to the

public, and to which the website’s users are subject – are governed by the laws of the State of

Washington:

                Choice of Law; Disputes. These Terms of Use are governed by the
                laws of the State of Washington, without giving effect to its conflict



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               of laws provisions. You agree to submit to the personal and
               exclusive jurisdiction and venue in the state and federal courts
               sitting in King County, Washington for all disputes, claims, and
               actions arising from or in connection with the Services or otherwise
               under these Terms of Use. The Zillow Companies operate the
               Services from our offices in Washington, and we make no
               representation that the Services are appropriate or available for use
               in other locations. 4

         Thus, the Western District of Washington is not only the most convenient forum, it is the

only appropriate one. 5

       C.      Transfer Will Promote The Just And Efficient Conduct Of The Actions.

       In addition, transfer of the Actions for coordinated pretrial proceedings will “promote the

just and efficient conduct of [the] actions” in accordance with the third requirement of Section

1407(a). Because the Actions were only commenced last month, consolidation will maximize

efficiencies and expedite the resolution of the issues in each case. See In re Johnson & Johnson

Talcum Powder Prod. Mktg., Sales Practices & Prod. Liab. Litig., 220 F. Supp. 3d 1356, 1358

(J.P.M.L. 2016) (granting consolidation where nearly all the actions were filed within a six-month

period). Indeed, the Actions will involve many of the same pretrial issues, such as those

concerning the nature and scope of fact discovery, resolution of expert discovery issues and

Daubert motions, and resolution of legal issues and affirmative defenses at summary judgment.

For example, if the Southern District of California, the Northern District of Illinois, the Eastern

District of Missouri, the Eastern and Western Districts of Pennsylvania, and the Western District


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       https://www.zillowgroup.com/terms-of-use/ (last visited 10/19/2022).
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        The Perkins action plaintiffs further allege that “Washington, which seeks to protect the
rights and interests of Washington and other U.S. consumers against a company doing business in
Washington, has a greater interest in the claims of Plaintiffs and the Class than any other state and
is most intimately concerned with the outcome of this litigation.” Perkins Compl. at ¶ 81. Given
that the Perkins plaintiffs seek a nationwide class, this statement is clearly intended to influence a
choice-of-law analysis applying Washington law nationwide – with which Zillow disagrees – but
nevertheless shows that Washington is the center of gravity here.


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of Washington were independently required to each resolve pre-trial issues relating to the

overlapping factual record, valuable judicial resources would be wasted and there would be an

exceptionally high risk of inconsistent discovery, summary judgment, class allegation, and

certification rulings. See In re Clearview AI, Inc., Consumer Privacy Litig., 509 F. Supp. 3d 1368,

1369 (J.P.M.L. 2020); In re Allura Fiber Cement Siding Prods. Liab. Litig., 366 F. Supp. 3d 1365

(J.P.M.L. 2019); In re Nickelodeon Consumer Privacy Litig., 949 F. Supp. 2d 1377, 1378 (J.P.M.L.

2013). This outcome would be unfair to both Plaintiffs and Zillow alike and would burden the

court system by creating inefficient procedure and potentially conflicting precedent.

       D.      The Actions Are Sufficiently Numerous And Complex To Warrant
               Consolidation.

       There are currently eight cases pending in six separate courts in five different states filed

within twenty days of each other. There remains the distinct possibility that others will be filed.

While there is no “magic number” of pending cases required to grant consolidation under Section

1407, the eight Actions here involve sufficient number of mutual issues and complexities to

warrant consolidation.

       As a starting point, the Panel regularly centralizes actions where six or more early-stage

actions are pending across multiple jurisdictions.6 See, e.g., In re Chrysler Pacifica Fire Recall

Prods. Liab. Litig., MDL No. 3040, 2022 WL 3134131 (J.P.M.L. Aug. 3, 2022) (seven actions in

four districts); In re Neo Wireless, LLC, Pat. Litig., MDL No. 3034, 2129058 (J.P.M.L. June 14,

2022) (seven actions in five districts); In re Smitty’s/Cam2 303 Tractor Hydraulic Fluid Mktg.,


       6
          “[W]here only a minimal number of actions are involved,” a party requesting
centralization may bear a heavier burden to demonstrate that it is appropriate. However, that
heavier burden – utilized in limited circumstances with far fewer actions at issue – does not apply
here. See In re Transocean Ltd. Sec. Litig. (No. II), 753 F.Supp.2d 1373, 1374 (J.P.M.L. 2010)
(applying heavier burden where there were only two actions); cf. In re Azek Bldg. Prods., 999
F.Supp.2d 1366 (J.P.M.L. 2014) (transferring one case into the District of New Jersey for
consolidation).


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Sales Practices & Prods. Liab. Litig., 466 F. Supp. 3d 1380 (J.P.M.L. 2020) (eight actions in eight

districts); In re Clearview AI, Inc. Consumer Privacy Litig., 509 F. Supp. 3d 1368, 1369 (J.P.M.L.

2020) (nine actions in two districts); In re Facebook, Inc., Consumer Privacy User Profile

Litig., 325 F. Supp. 3d 1362, 1363 (J.P.M.L. 2018) (eight actions in four districts); In re Google

Inc. Gmail Litig., 936 F. Supp. 2d 1381, 1382 (J.P.M.L. 2013) (six actions in five districts).

       Additionally, where, as here, the issues involved are sufficiently complex and

centralization would prevent duplicative pretrial proceedings and rulings, the Panel has ordered

transfer even when as few as two cases were pending. See, e.g., In re First Nat’l Bank, Heavener,

Okla. (First Mortgage Revenue Bonds) Sec. Litig., 451 F. Supp. 995, 997 (J.P.M.L. 1978)

(centralization was “necessary, even though only two actions are involved, in order to prevent

duplicative pretrial proceedings and eliminate the possibility of inconsistent pretrial rulings”); see

also In re Okun, 609 F. Supp. 2d 1380, 1382 (J.P.M.L. 2009) (centralizing two actions); In re

Payless ShoeSource, Inc., 609 F. Supp. 2d 1372 (J.P.M.L. 2009) (same); In re Aetna, Inc., 609 F.

Supp. 2d 1370 (J.P.M.L. 2009) (same).

       The eight Actions involve related factual issues regarding the same complex technology;

each action involves a different set of Plaintiffs asserting effectively identical theories against the

same defendants regarding the same Replay Session Code; the allegations present unique expert

discovery issues; and there is a risk of inconsistent rulings. The Actions are sufficiently numerous

and complex to warrant consolidation.

II.    The Western District of Washington Is The Most Appropriate Transferee Forum.

       There is a significant nexus to the Western District of Washington and the Panel should

transfer the Actions there. A significant “nexus” exists when a party which is common to all

actions (e.g., the defendant) is headquartered or has facilities that are located within the transferee

court’s jurisdiction, such that relevant witnesses and documentary evidence common to all the


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actions are likely to be found there. In re FedLoan Student Loan Servicing Litig., 340 F. Supp. 3d

1377, 1378 (J.P.M.L. 2018) (transferring cases to a district “near defendant’s headquarters . . .

where witnesses and documents [were] likely to be located”); In re Facebook, Inc., Consumer

Privacy User Profile Litig., 325 F. Supp. 3d 1362, 1364 (J.P.M.L. 2018) (transferring cases to the

Northern District of California because it is “where Facebook is headquartered and relevant

evidence and witnesses are likely to be located”); In re Equifax, Inc., Customer Data Sec. Breach

Litig., 289 F. Supp. 3d 1322, 1326 (J.P.M.L. 2017) (transferring 97 cases to the Northern District

of Georgia because “Equifax is headquartered in that district, and relevant documents and

witnesses thus likely will be found there”); In re Bair Hugger Forced Air Warming Devices Prods.

Liab. Litig., 148 F. Supp. 3d 1383, 1386 (J.P.M.L. 2015) (transferring cases to the District of

Minnesota because “defendants are headquartered in Minnesota, and many witnesses and relevant

documents are likely to be found there.”); In re Packaged Seafood Prods. Antitrust Litig., 148 F.

Supp. 3d 1375, 1377 (J.P.M.L. 2015) (transferring cases to defendant’s home district because

“relevant documents and witnesses are likely to be found there”); In re Bard IVC Filters Prods.

Liab. Litig., 122 F. Supp. 3d 1375, 1376-77 (J.P.M.L. 2015) (transferring to District of Arizona,

where defendant was headquartered and documents and witnesses were there); In re Lenovo

Adware Litig., 109 F. Supp. 3d 1366, 1367 (J.P.M.L. 2015) (same); In re Toyota Motor Corp.

Hybrid Brake Mktg., Sales Practices, & Prod. Liab. Litig., 732 F. Supp. 2d 1375, 1377 (J.P.M.L.

2010) (“We are persuaded that the Central District of California is an appropriate transferee forum

for this litigation. Defendants maintain their United States corporate headquarters within this

district, and relevant documents and witnesses are likely located there.”).

       The Western District of Washington is the center of gravity for the Actions: it is where

Zillow (and Microsoft) are headquartered; where many of the witnesses are likely located; where




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substantial acts regarding the alleged conduct occurred; and it is the venue agreed to by all users

when they visit the website. See https://www.zillowgroup.com/terms-of-use.             The Western

District of Washington will serve the convenience of the parties and witnesses, and it will promote

the just and efficient management of this litigation. It is the most appropriate transferee court.

                                         CONCLUSION

       For all the foregoing reasons, Zillow respectfully requests that the Panel enter an order

consolidating for pretrial proceedings the putative class Actions already filed, as well as any other

related actions that are subsequently filed, to the United States District Court for the Western

District of Washington.

Dated: October 19, 2022                       Respectfully submitted,

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